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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

   TIMES PUBLISHING COMPANY,

                    Plaintiff,

   v.                                                      Case No. 8:23-mc-0014-WFJ-SPF
                                                                    8:23-mj-1541-SPF
   UNITED STATES OF AMERICA,

               Defendant.
   ____________________________________/

                                              ORDER
             In this miscellaneous case related to an FBI investigation into cyber crimes, before

   the Court is Timothy Burke’s Motion to Unseal Sworn Affidavit and for Return of

   Property Under Rule 41(g) (Doc. 25) and the United States’ Response in Opposition (Doc.

   33). For the reasons stated here, Burke’s motion is denied without prejudice.

        I.      Background

             Movant Timothy Burke (“Burke”) is a freelance investigative journalist who works

   from his home in Tampa. On May 4, 2023, the undersigned found probable cause

   supported the United States’ application for a warrant to search Burke’s home for the

   fruits, instrumentalities and/or evidence of violations of 18 U.S.C. § 1030 (intentional

   unauthorized access of a computer), and 18 U.S.C. § 2511 (intentional interception and

   disclosure of wire, oral, or electronic communication). In the Matter of the Search of Premises

   Located at [XXXX] N. Tampa St., No. 8:23-mj-1541-SPF. The Court approved the search

   warrant and, at the United States’ request and in the interests of justice, sealed the warrant
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   application, the warrant, the affidavit supporting the warrant, the United States’ motion

   to seal these documents, and the Order sealing them.

          FBI agents executed the warrant on May 8, 2023, and seized “approximately two

   dozen electronic devices and two hard copy items” (Doc. 33 at 4; see redacted evidence

   log, Doc. 18-1 at 28-29). According to Burke, this totaled over 100 terabytes of data across

   all the seized devices (Doc. 25 at 4). The FBI’s search of Burke’s home office caught the

   media’s attention, and on May 12, 2023, the Times Publishing Company (which had

   reported the story) moved to intervene in the criminal proceeding and requested that the

   Court unseal the application, warrant, affidavit, motion to seal, the Court’s Order sealing

   the documents, and any search warrant returns (the “Search Warrant Records”) (Doc. 1).

   The Court granted the media company’s request to intervene and – with the United States’

   consent – unsealed redacted versions of the Search Warrant Records, except for the federal

   agent’s affidavit supporting the search warrant (Doc. 18-1). The Court ordered the parties

   to file supplemental briefs on the continued sealing of the agent’s affidavit (Doc. 18).

          After examining the affidavit in camera and considering the parties’ supplemental

   briefings, the Court denied the Times Publishing Company’s motion to unseal the affidavit

   (Doc. 23). In reaching this finding, the Court weighed the public’s right of access to the

   unredacted contents of the affidavit against the United States’ interest in keeping the

   information under seal:

          On the one hand, multiple media outlets, including the Times Publishing
          Company, have reported on the FBI’s search (see 8:23-cv-0014-WFJ-SPF, Doc.
          22 at 1-2). The searched premises belongs to a member of the media. And the
          media has publicly speculated about the identity of some of the alleged victims
          of the crimes under investigation (Id.). These factors boost the public’s interest
          in the affidavit’s contents. But on the other hand, the agent’s affidavit details


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            the scope and direction of the Government’s investigation, identifies the
            individual(s) being investigated, references the identities of victim(s),
            witness(es), and/or co-conspirator(s), and reveals the agent’s investigative
            techniques. Compounding these factors is that the criminal proceeding is pre-
            indictment – disclosing the contents of the agent’s affidavit likely would stymie
            both the nature of the Government’s investigation and how law enforcement is
            conducting it. Weighing the public’s right of access against these compelling
            governmental interests, the scale tips in the United States’ favor. See United
            States v. Valenti, 987 F.2d 708, 714 (11th Cir.), cert. denied, 510 U.S. 907 (1993)
            (acknowledging prejudice to ongoing investigation as compelling reason for
            denying motion to unseal transcripts of closed proceedings).

   (Doc. 23 at 3). Reasoning that “each section of the affidavit builds on the one before it,

   and the sum of these parts equals the Government’s probable cause[,]” the Court found

   that sealing the entire affidavit was necessary to protect the integrity of the investigation

   (Id.).

            Since the seizure, Burke’s attorneys have “engaged in efforts to effectuate the return

   of Mr. Burke’s property[.]” (Docs. 25 at 4). Burke reports that “the government has agreed

   to return – over more time – materials that were never covered by the warrant, some of

   which     include    journalistic   work   product,    sources    and   methods,     privileged

   communications, and related materials.” (Id. at 5). But “[t]hey have not agreed to provide

   copies of his work product, including the thousands of live feeds which make up the

   privileged contents of Mr. Burke’s newsroom.” (Id.).             Instead, the United States

   unilaterally drafted and proposed a stipulation to Burke “in the interest of expediting the

   return of the seized items and/or their contents[.]” (Doc. 33, Exh. A at 3). Burke’s motion

   followed.




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      II.      Burke’s Motion to Unseal Agent’s Affidavit

            Burke asks the Court to revisit its decision to seal the agent’s affidavit (Doc. 25).

   According to Burke, the allegedly criminal conduct supplying the Government with

   probable cause is no longer just a source of media speculation. Publications like Vanity

   Fair and New Republic have reported that the FBI searched Burke’s home because he

   posted on his website excerpts of an unedited livestreamed interview of Kanye West by

   then-Fox News reporter Tucker Carlson (Id. at 2-3, n. 2-3). News outlets seized on this

   unedited content, because Ye’s comments – cut by Fox News before it aired the interview

   – were antisemitic and racist, Burke says. According to Burke, this prompted law

   enforcement’s suspicion that Burke had hacked into Fox News’ livestreams and

   intercepted the Ye interview in violation of the Computer Fraud and Abuse Act

   (“CFAA”) and the wiretap statute (Id.).

            Burke contends the balancing test favors the public’s right of access to the agent’s

   affidavit more now than it did before. The more public the story behind the unedited

   interview is – Burke’s argument goes – the less compelling the need for the Court to seal

   the agent’s affidavit. But beyond arguing that the cat is out of the bag, Burke offers no

   new argument that convinces the Court to recalibrate the scale, which the undersigned

   already determined tipped in favor of the Government’s compelling interest in protecting

   and safeguarding the integrity of its investigation at this pre-indictment stage. In its Order

   denying the Times Publishing Company’s motion to unseal the affidavit, the Court found

   that “[e]ven information in the affidavit that is already publicized is ‘inextricably

   intertwined with the Government’s argument for probable cause’ and cannot be



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   unsealed.” (Doc. 23 at 4, quoting In re Search of Office Suites for World & Islam Studies Enter.,

   925 F. Supp. 738, 744 (M.D. Fla. 1996)).

          Next, Burke implies he has a private, pre-indictment right to access the agent’s

   affidavit, because he “has a higher interest in disclosure of the affidavit [than the Times

   Publishing Company]. It was his material seized, and his access to the affidavit is essential

   to challenge whether the government even was permitted to seek, much less the Magistrate

   [Judge] had authority to issue, this warrant.” (Doc. 25 at 13). Burke contends that “access

   to the affidavit is essential for [Burke] to challenge the lawfulness of the search under Rule

   41(g) F.R. Crim. P. and under Franks v. Delaware, 438 U.S. 154, 156, 165-71 (1978).” (Id.

   at 15). He laments, “[w]e still don’t know their theory of the crimes alleged.” (Id. at 13).

          As Burke acknowledges, however, “[t]he Eleventh Circuit does not seem to have

   opined on the question of whether the subject of an investigation has a right, either under

   the common law, the Fourth Amendment, or Rule 41 F.R.Crim.P. to access [ ] an affidavit

   in support of a warrant in order to challenge the lawfulness of the warrant, but multiple

   other courts have found such a right.” (Doc. 25 at 13, n.29). In the out-of-jurisdiction

   cases Burke cites, the pre-indictment private right of access to warrant documents still

   yields to a compelling government interest (Id). See also In re Search of Up North Plastics,

   Inc., 940 F.Supp. 229, 232 (D. Minn. 1996) (Fourth Amendment right of access to search

   warrant affidavits may be limited or denied “upon a showing of a compelling government

   interest that cannot be accommodated by some means less restrictive than sealing the

   court’s records.”).




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            The Government has demonstrated to the Court’s satisfaction that a compelling

   need exists to keep the search warrant affidavit under seal. As the Court stated in its prior

   Order:

            [T]he agent’s affidavit details the scope and direction of the Government’s
            investigation, identifies the individual(s) being investigated, references the
            identities of victim(s), witness(es), and/or co-conspirator(s), and reveals the
            agent’s investigative techniques. Compounding these factors is that the
            criminal proceeding is pre-indictment – disclosing the contents of the agent’s
            affidavit likely would stymie both the nature of the Government’s investigation
            and how law enforcement is conducting it.

   (Doc. 23 at 3). At bottom, the Government’s interest in protecting the integrity of its

   criminal investigation is constitutionally compelling, and unsealing the agent’s affidavit

   would compromise that interest. 1 After careful consideration, the Court once again finds

   that line-by-line redaction is not practical, and the most narrowly tailored method for

   safeguarding the Government’s compelling interests is to deny Burke’s motion to unseal

   the agent’s affidavit.

       III.    Burke’s Rule 41(g) Motion for Return of Property

            Under Rule 41(g), Burke requests “the immediate return of the contents of his

   newsroom, including computers, mobile telephones, servers, hard drives, and other

   electronic devices, and any and all information and data copied, reproduced or retained

   therefrom[.]” (Doc. 25 at 1). He acknowledges “[t]he government has agreed to return

   and not retain copies of the hard drives which contain no data related to Mr. Burke’s

   access to and publication of live feeds after August of 2022 – the period mentioned in


   1
     Burke is not left without recourse. If the Government elects to initiate a criminal
   proceeding against him, Burke will have an opportunity via Rule 12(b) to file a pretrial
   motion to dismiss and/or to suppress evidence.


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   Attachment B of the Warrant.” (Id. at 4-5). 2 And the Government has also agreed to

   provide Burke copies of the portions of seized drives that “contain both materials covered

   and not covered by the Warrant Attachment, but with those materials covered by the

   Warrant deleted, and with the government retaining the original drives containing the

   mixed materials.” (Id. at 5, n. 7). But, Burke argues, the Government is not working fast

   enough and casts too wide a net in seizing and retaining the “thousands of live feeds which

   make up the privileged contents of [his] newsroom.” (Id. at 5). Relying on the factors

   enumerated in Richey v. Smith, 515 F.2d 1239, 1243-44 (5th Cir. 1975), 3 Burke contends

   the Government has “callously disregarded” his First and Fourth Amendment rights in

   searching and seizing the data on his devices (Doc. 25 at 10).

          The United States counters that the Court lacks equitable jurisdiction to decide

   Burke’s motion for return of property, because Burke cannot meet Richey’s high bar (Doc.

   33 at 21). Instead of a Rule 41(g) motion, the Government characterizes Burke’s motion

   as an improper pre-indictment motion to suppress (Id. at 19).           The Government

   emphasizes it complied with applicable internal policies in seeking the warrant and is

   following filter protocols to “prevent the investigative team from unintentionally

   encountering any potentially privileged or protected communications or materials.” (Id.

   at 23). It cites its proposed stipulation to Burke that outlines a process for returning



   2
     The Government’s investigative team has determined it can return originals or copies of
   all folders and files that predate midnight on August 22, 2022 (Doc. 33 at 10-11, n. 9).
   3
     The Eleventh Circuit has adopted as precedent decisions of the former Fifth Circuit
   rendered prior to October 1, 1981. See Bonner v. Pritchard, 661 F.2d 1206, 1209 (11th Cir.
   1981).


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   property containing “information falling outside the authority to seize under Attachment

   B to the warrant, and to eliminate any image of that item in its systems.” (Id. at 10). 4 But

   the Government does not propose a deadline for returning this subset of Burke’s property.

          Rule 41(g) provides:

          A person aggrieved by an unlawful search and seizure of property or by the
          deprivation of property may move for the property’s return. The motion must
          be filed in the district where the property was seized. The court must receive
          evidence on any factual issue necessary to decide the motion. If it grants the
          motion, the court must return the property to the movant, but may impose
          reasonable conditions to protect access to the property and its use in later
          proceedings.

   Fed. R. Crim. P. 41(g). When no criminal proceedings are pending, motions under Rule

   41(g) are considered motions in equity. See United States v. Howell, 425 F.3d 971, 974 (11th

   Cir. 2005); Hunsucker v. Phinney, 497 F.2d 29, 34 (5th Cir. 1974). And “[e]xercises of

   equitable jurisdiction . . . should be ‘exceptional’ and anomalous.’” Trump v. United States,

   54 F.4th 689, 694 (11th Cir. 2022) (quoting Hunsucker, 497 F.2d at 32). In other words,

   “[o]nly the narrowest of circumstances permit a district court to invoke equitable

   jurisdiction.” Id. at 697.

          As the Eleventh Circuit recounts in Trump, “‘[i]t is a familiar rule that courts of

   equity do not ordinarily restrain criminal prosecutions.’” Id. at 697 (quoting Douglas v.



   4
      Burke did not agree to the stipulation and filed the instant motion instead. Referring to
   the “Evidence Collected Item Log,” produced to Burke in redacted form (see Doc. 18-1 at
   28-29), the United States asserts in its Response, “[a]s of today, the United States has made
   available for return to Burke original Item #19 and has produced copies of folders and
   files contained on Items #7 (partial return), #14, #17 (partial return), #20 (partial return),
   #21, #22, #23, and #24 (partial return) that predate midnight, August 22, 2022.” (Doc.
   33 at 11).



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   City of Jeannette, 319 U.S. 157, 163 (1943)). To avoid interfering with the executive

   branch’s criminal enforcement authority while still “offering relief in rare instances where

   a gross constitutional violation would otherwise leave the subject of a search without

   recourse,” the Eleventh Circuit follows Richey’s “exacting test” for exercising equitable

   jurisdiction in cases involving the seizure of property. Id. Under Richey, a district court

   sitting in equity must consider four factors when deciding whether to grant a motion for

   return of property: (1) whether government agents displayed a “callous disregard” for the

   plaintiff’s constitutional rights; (2) whether the plaintiff “has an individual interest in and

   need for the material whose return he seeks;” (3) whether the plaintiff would be irreparably

   injured if the property is not returned; and (4) whether the plaintiff has an adequate remedy

   at law. 515 F.2d at 1243-44 (quoting Hunsucker, 497 F.2d at 34).

          A.      “Callous Disregard”

          The first Richey factor – whether the plaintiff has shown that the Government

   “callously disregarded” his constitutional rights – is the most important. Trump, 54 F.4th

   at 698 (citing United States v. Chapman, 559 F.2d 402, 406 (5th Cir. 1977) and emphasizing

   the “indispensability of an accurate allegation of callous disregard.”). Burke’s bread and

   butter is a collection of live streams he “has painstakingly compiled, organized and

   indexed.” (Doc. 25-2 at 12). Invoking the First Amendment, he stresses he collected these

   live feeds lawfully from the public domain and “seizing and refusing to return that which

   was previously public, in a manner that serves to prevent Mr. Burke and other reporters

   from reporting on this content is the ultimate ‘prior restraint,’ using armed FBI agents to

   prevent publication.” (Doc. 25-2 at 10). Burke also argues he is in the dark about whether



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    the Government complied with the Privacy Protection Act (“PPA”), 42 U.S.C. § 2000aa,

    et seq., its implementing regulations, and internal Department of Justice guidelines

    designed to guard against intrusion into journalists’ newsgathering and reporting.

           The “chief purpose” of the First Amendment is to prevent “previous restraints on

    publication.” Near v. Minnesota, 283 U.S. 697, 713 (1931). Prior restraints are the “most

    serious and the least tolerable infringement on First Amendment rights” because they are

    “an immediate and irreversible sanction,” not only “chill[ing]” speech but also

    “freez[ing]” it, at least for a time. Nebraska Press Ass’n v. Stuart, 427 U.S. 539, 559 (1976).

    Mindful of this constitutional guidepost, the undersigned is tasked with deciding the scope

    of Burke’s First Amendment protections in the context of the Government’s execution of

    a search warrant supported by probable cause.

           The Supreme Court addressed the intersection of the First and Fourth

    Amendments in Zurcher v. Stanford Daily, 436 U.S. 547, 566 (1978), which Burke cites to

    bolster his argument that the Government may not “rummage at large in newspaper files

    or [ ] intrude into or deter normal editorial and publication decisions.” (Doc. 25 at 11, n.

    25). In Zurcher, the Supreme Court held that the Fourth Amendment’s prohibition of

    unreasonable searches and seizures did not extend to law enforcement’s search of Stanford

    University’s newspaper office for photographs depicting students who assaulted police

    officers during a violent demonstration, even though no newspaper employee was

    involved in the assaults. 436 U.S at 566. The Supreme Court reasoned: “Properly

    administered, the preconditions for a warrant – probable cause, specificity with respect to

    the place to be searched and the things to be seized, and overall reasonableness – should



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    afford sufficient protection against the harms that are assertedly threatened by warrants

    for searching newspaper offices.” Id. at 565.

           Enter the PPA, which Congress enacted in 1980 in response to Zurcher to afford

    members of the press not suspected of committing a crime with protections besides those

    provided by the Fourth Amendment. See Sennett v. United States, 667 F.3d 531, 535 (4th

    Cir. 2012). 5 The PPA prohibits the government from seizing “work product materials”

    intended for publication. See 42 U.S.C. § 2000aa(a). Work product materials are materials

    the author intends to communicate to the public that contain the authors’ impressions,

    opinions, conclusions, or theories. See 42 U.S.C. § 2000aa-7(b). The act also bars seizure

    of “documentary materials,” including photographs, films, or tapes. See 42 U.S.C. §§

    2000aa(b) & 2000aa-7(a).      Excluded from the PPA’s definitions of “documentary

    materials” and “work product materials” is “contraband or the fruits of a crime or things

    otherwise criminally possessed.” 42 U.S.C. § 2000aa-7.

           Under the so-called “suspect exception” to the PPA, “[t]he police can avoid the

    constraints of the act . . . when the person possessing the materials is a criminal suspect

    rather than an innocent third party.” Guest v. Leis, 255 F.3d 325, 341 (6th Cir. 2001); see

    42 U.S.C. §§ 2000aa(a)(1) & (2); 2000aa(b)(1)-(4). To take advantage of this exception,


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      In Henriquez v. Georgia Department of Revenue, No. 21-12567, 2023 WL 4624473, at *9
    (11th Cir. July 19, 2023), the Eleventh Circuit explained: “The PPA is obviously
    addressing the interaction of the First and Fourth Amendments in connection with
    searches conducted during a criminal investigation that could well satisfy the Fourth
    Amendment’s requirement that all governmental searches and seizures of an individual’s
    property be reasonable, but that might, at the same time, implicate a putative publisher’s
    First Amendment interest in not having those materials seized absent probable cause to
    believe that the latter has some connection to the crime being investigated.”



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    the government must have “probable cause to believe that the person possessing such

    materials has committed or is committing the criminal offense to which the materials

    relate.” 42 U.S.C. §§ 2000aa(a)(1) & (b)(1). 6

           Burke devotes much of his argument to explaining why he believes his conduct

    was not criminal. Under the heading “There Was No Crime. The CFAA & Electronic

    Communications Act Cannot Be Read To Criminalize Routine Newsgathering from the

    Internet[,]” Burke argues at length he did not commit a crime because he did not hack into

    Fox News or the streaming platform’s systems to gain access to the livestream, he obtained

    credentials through legal investigative techniques he has developed and refined over his

    journalism career (Doc. 25 at 15-20). He stresses that the search and seizure of his

    “Newsroom [was] based on a novel and unsupported interpretation of the CFAA and

    wiretap laws[.]” (Doc. 25 at 9).

           Burke’s brief – while well-researched and copiously footnoted – does not explicitly

    explain how his challenge to the Government’s interpretation of these criminal statutes


    6
      The Attorney General has promulgated internal guidelines addressing when prosecutors
    need to secure authorization for search warrants that may implicate the PPA. See 28
    C.F.R. § 50.10(i)(1) (the “News Media Policy”). The News Media Policy “is not intended
    to, and does not, create any right or benefit, substantive or procedural, enforceable at law
    or equity by any party against the United States, its departments, agencies, or entities, its
    officers, employees, or agents, or any other person.” 28 U.S.C. § 50.10(t). The policy “is
    of the kind to be enforced internally by a governmental department, and not by courts
    through exclusion of evidence.” In re Shain, 978 F.2d 850, 853 (4th Cir. 1992). Here, the
    Government represents it “has fully complied with all aspects of its own PPA policy and
    its News Media Policy during the ongoing investigation.” (Doc. 33 at 13). Additionally,
    the News Media Policy is “not intended to shield from accountability members of the
    news media who are subjects or targets of a criminal investigation for conduct outside the
    scope of newsgathering.” 28 C.F.R. § 50.10(a)(1). “Newsgathering” does not include
    unlawfully accessing a computer system or wiretapping. 28 C.F.R. § 50.10(b)(2)(ii)(B).



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    fits in the context of his pre-indictment motion for return of property. It appears Burke is

    suggesting that if there was no underlying crime, the First Amendment and/or the PPA

    prohibited the Government from searching and seizing Burke’s materials.               Thus,

    according to Burke, the Government showed “callous disregard” for his First Amendment

    rights.

              While it should be emphasized that Burke has not been charged with a crime, the

    Government has established probable cause to believe that Burke’s home contained the

    fruits, instrumentalities and/or evidence of violations of 18 U.S.C. § 1030 and 18 U.S.C.

    § 2511. In other words, the items the Government is authorized to seize under the warrant

    do not qualify as protected work product or documentary materials under the PPA

    because they are contraband or fruits of the crime under investigation.          Any PPA

    materials 7 that may exist on the seized devices were commingled with criminal evidence

    on computers owned or operated by Burke, the subject of a criminal investigation. Burke

    has not demonstrated the indispensable element of “callous disregard” of his

    constitutional rights.

              B.     Remaining Richey Factors

              Although neither Burke nor the United States addresses the three remaining Richey

    factors in detail, the Court finds it prudent to discuss them. The second Richey factor is

    “whether the plaintiff has an individual interest in and need for the material whose return


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      Although Burke identifies no specific PPA materials, the Court assumes without
    deciding that there are PPA-protected materials on some of Burke’s devices the
    Government seized. But the Government represents it is working with a taint team to
    prevent its investigative team from unwittingly searching privileged or protected
    information (Doc. 33 at 23).


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    he seeks.” 515 F.2d at 1243. Burke states “[h]is media clients rely on the tools he has

    built, which exist solely in the hardware and backup drives currently in the possession of

    the FBI.” (Doc. 25 at 7). As explained in Trump, however, “the relevant inquiry is if he

    needs the documents.” 54 F.4th 689, 699 (emphasis in original). Regarding his individual

    need for the seized materials, Burke says “his career and his reporting are inseparable from

    the hardware and intellectual property seized by the government.” (Doc. 25 at 7). And

    “[t]he tools he’s developed and shared with reporting partners have produced some of the

    most-seen viral news videos of all time.” (Id.). But Burke does not identify specific seized

    materials he needs. “Courts that have authorized equitable jurisdiction have emphasized

    the importance of identifying ‘specific’ documents and explaining the harm from their

    ‘seizure and retention.’” Trump, 54 F.4th at 699 (quoting Harbor Healthcare Sys., L.P. v.

    United States, 5 F.4th 593, 600 (5th Cir. 2021)). The second Richey factor favors the

    Government.

           The third Richey factor is whether Burke would be irreparably injured if his property

    is not returned. This “refers to circumstances in which a Rule 41[g] movant cannot wait

    for a legal remedy, thus justifying the court’s equitable jurisdiction.” Bennett v. United

    States, No. 12-61499-CIV, 2013 WL 3821625, at *14 (S.D. Fla. July 23, 2013) (citation

    and quotation omitted). According to Burke, he “is a ‘person who finds things’ on the

    Internet. What he is not, however, is a criminal.” (Doc. 25 at 8). Although the threat of

    federal prosecution no doubt weighs heavily on him, it does not constitute irreparable

    harm. United States v. Search of Law Office, Residence, and Storage Unit Alan Brown, 341 F.3d

    404, 415 (5th Cir. 2003); see also Trump, 54 F.4th at 700 (“without diminishing the



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    seriousness of the burden [of indictment], that ordinary experience cannot support

    extraordinary jurisdiction.”).

           Instead, for irreparable injury, courts “focus on the harmful effects the loss of the

    property wreaks on the movant.” Alan Brown, 341 F.3d at 415. To this point, Burke states,

    “[h]e has been unable to report news or service his clients’ reporting since the search

    warrant was executed; both his journalism career and his business have been brought to a

    complete standstill and he is unable to earn a living[.]” (Doc. 25 at 7). Burke has not

    explained why he cannot continue to report news or otherwise work as a journalist

    without the seized items, however, especially considering his reputation as someone

    highly skilled at locating information online. Regarding seized materials within the scope

    of the warrant, the Court borrows the reasoning of Trump: “[I]t cannot be that prosecutors

    reading unprivileged documents seized pursuant to a lawful warrant constitutes

    irreparable injury for purposes of asserting equitable jurisdiction. Here too, Plaintiff’s

    argument would apply to nearly every subject of a search warrant.” 54 F.4th at 700.

           Richey’s final consideration is whether the plaintiff “has an adequate remedy at law

    for the redress of his grievance.” 515 F.2d at 1244. “An adequate remedy at law may

    exist even if it cannot be asserted currently, but rather only at some future date.” In re

    Stanford, 68 F.Supp.2d 1352, 1356 (N.D. Ga. 1999); see also Hunsucker, 497 F.2d at 34

    (holding that where, at the time of bringing a motion for return of property, “it appeared

    likely that a future proceeding would be available in which [movant] could vindicate his

    rights,” there was an adequate remedy at law). Here, an adequate remedy exists: a motion

    to suppress under Rule 12, which Burke – should he be indicted – may bring to contest the



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    constitutionality of the search warrant. Or, if he is not charged, he may move again for

    the return of his property. The PPA also has a civil remedies provision that permits “[a]

    person aggrieved by a search for or seizure of materials” in violation of the statute to bring

    a cause of action for damages against the United States. 42 U.S.C. § 2000aa-6(a).

             No Richey factor weighs in Burke’s favor. The Court declines to exercise equitable

    jurisdiction to order the return of Burke’s seized property.

       IV.      Completion of Review

             While Rule 41(e)(2)(B) authorizes the seizure, and later review, of electronically

    stored media, “[i]t was not the intent of the [rule] to leave the property owner without an

    expectation of the timing for return of the property, excluding contraband or

    instrumentalities of crime. . .” Fed. R. Crim. P. 41, advisory committee notes to 2009

    Amendments. The Court recognizes that a “substantial amount of time can be involved

    in the forensic imaging and review of information. . . due to the sheer size of the storage

    capacity of the media, difficulties created by encryption and booby traps, and the workload

    of the computer labs.” Id.

             Here, according to Burke, over 100 terabytes of data were seized (Doc. 25 at 4).

    Reviewing such voluminous information is a lengthy process – one undoubtedly

    prolonged by the protocols the Government has put in place to ensure protected

    information stays that way. While the Government is entitled to a reasonable amount of

    time to review the seized materials, the time afforded to the Government is not unlimited.

    The Court recognizes that at some point not yet reached, the delay may become

    unreasonable and constitute “callous disregard” of Burke’s rights.



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           With this in mind, the Court directs the Government, within seven (7) days of this

    Order, to propose a reasonable schedule for the return of copies or originals of all seized

    materials except those “Particular Things to be Seized” as set forth in Attachment B to the

    Search Warrant (Doc. 18-1 at 7-11).

           Accordingly, the Court ORDERS:

           (1) Timothy Burke’s Motion to Unseal Sworn Affidavit and for Return of Property

              Under Rule 41(g) (Doc. 25) is DENIED without prejudice.

           (2) Within seven (7) days of this Order, the Government shall file a proposed

              reasonable schedule for the return to Burke of copies or originals of all seized

              materials except those “Particular Things to be Seized” as set forth in

              Attachment B to the Search Warrant.

           ORDERED in Tampa, Florida, on September 22, 2023.




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